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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
                       _____________________________________

 UNITED STATES OF AMERICA,

                Plaintiff,
                                               Civil Action No. 3:24-cv-2137
 v.

 FEMAIL EXPRESS CARRIERS LLC,
 ANNETTE FRANKLIN, and ERIKA
 ROBERTS MOORE,

                Defendants.

                                      COMPLAINT

        The United States of America, on behalf of the United States Postal Service,

brings claims against Defendants FeMail Express Carriers LLC, Annette Franklin, and

Erika Roberts Moore, as follows:

                                I.      INTRODUCTION

        1.     This is an action for damages and civil penalties arising from false claims

presented or caused to be presented by Defendants to the United States in violation of the

False Claims Act, 31 U.S.C. § 3729-33, as well as the common law and equitable theories

of fraud, and unjust enrichment.

        2.     The claims in this case arise from Defendants’ role in causing the Postal

Service to award approximately $250,000.00 in contracts to FeMail by misrepresenting

Moore’s familial ties to Franklin. Specifically, Franklin is Moore’s mother and, while

Franklin was employed as a Postal Service Office Clerk of Vehicle Operations at Postal


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Service facility in Coppell, Texas, she assisted Moore, the sole owner of FeMail, to

become a contract supplier for mail delivery services. Moore’s status as a family

member of a Postal Service employee would have disqualified her company from

receiving the contracts in question, but this fact was not disclosed to the Postal Service on

the relevant contractual documents.

       3.      As described more fully below, from March 2019 through January 2021,

Defendants submitted, or conspired to submit or cause to be submitted, false statements

material to claims in order to obtain the award of Transportation Services contracts from

the Postal Service to FeMail, and then obtained resulting payments under these contracts.

In connection with the award of these contracts, Moore certified under penalty of perjury

or caused certifications or statements to be made that she was not related to any Postal

Service employee and/or that she did not reside in the household of any Postal Service

employee, with knowledge or reckless disregard for the truth of the matter that Postal

Service employee Franklin is her mother and that she resided in Franklin’s household at

the time of the certification. These false statements induced or resulted in the Postal

Service’s award of these contracts, and the resulting several hundred thousand dollars in

payments made under the contracts, to FeMail. Defendants, therefore, are liable to the

United States under the False Claims Act for treble damages and civil penalties as

permitted by law.

       4.      Additionally, through these actions, Defendants intended to defraud the

government through the submission of material misrepresentations, the government

reasonably relied upon these representations, and the government suffered damages as a


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result of such reliance in making payments to an ineligible contractor and through the

diversion of contractual opportunities that were intended for eligible contractors. As a

result, Defendants are responsible for common law fraud and are liable to the government

for damages.

       5.      Further, as a result of Defendants’ misrepresentations and fraudulent

conduct, Defendants were unjustly enriched at the government’s expense, and equity and

good conscience militate against permitting Defendants to retain this enrichment.

Defendants, therefore, are liable to the government for all moneys unjustly enriched.

                        II.      JURISDICTION AND VENUE

       6.      This Court has jurisdiction under 31 U.S.C. § 3730(a) and 28 U.S.C.

§§ 1331 & 1345.

       7.      This Court may exercise personal jurisdiction over each Defendant

pursuant to 31 U.S.C. §§ 3732(a) & (b). Jurisdiction is proper over each Defendant

because one or more of the Defendants transacts business in the Northern District of

Texas and acts committed in violation of the False Claims Act by the Defendants

occurred in the Northern District of Texas.

       8.      Venue is proper in the Northern District of Texas under 31 U.S.C. § 3732,

28 U.S.C. §§ 1391(b)-(c), and 28 U.S.C. § 1395 because Defendants transacted business

in the Northern District of Texas or because a substantial part of the events or omissions

giving rise to the claims occurred in the Northern District of Texas. Among other things,

the contracts at issue required performance within the Northern District of Texas, and

Franklin worked at a Postal Service facility within this district at the relevant time.


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                                    III.     PARTIES

       9.      Plaintiff United States brings this action on behalf of the United States

Postal Service.

       10.     Defendant FeMail Express Carriers LLC is a former contract supplier for

mail delivery services incorporated in the State of Texas. Its address as listed on its LLC

form is 805 Stoneway Drive, Denton, TX 76210. It may be served through its registered

agent, Erika Roberts Moore, 3809 Twilight Drive, Temple, TX 76502.

       11.     Defendant Annette Franklin is a former employee of the Postal Service.

Franklin may be served at her place of residence, 805 Stoneway Drive, Denton, TX

76210. Franklin, while serving as a Postal Service employee, assisted her daughter

Moore in securing contracts with the Postal Service.

       12.     Defendant Erika Moore is a former Postal Service supplier and contractor.

She is the owner of FeMail. Moore may be served at her place of residence, 3809

Twilight Drive, Temple, TX 76502.

                         IV.       FACTUAL BACKGROUND

       13.     This case relates to contracts that the Postal Service solicits and award for

suppliers who can assist with the delivery of mail for specific travel routes. Typically, a

solicitation for bids is posted for application and made available to any/all suppliers.

Once the application period has concluded, contract officers review the applications and

submit a recommendation. If the recommended supplier is eligible to serve as a Postal

Service contractor, certifies that it has no conflicts of interest, and meets the capability

requirements, the applicant may be confirmed as a Postal Service supplier. Discussed in


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more detail below, the supplier contract requires various certifications to be made by the

supplier, including a requirement to disclose any relationship it may have with Postal

Service employees.

A.     Moore starts FeMail while working for another Postal Service contractor.

       14.     Prior to forming FeMail, Moore was employed by a Postal Service

contractor, Tamara Wimmer. While still employed by Wimmer, Moore registered

FeMail to do business in the State of Texas in August 2018 and listed her mother

Franklin’s residential address as FeMail’s business address.

       15.     Around this time, Franklin began forwarding internal Postal Service

documents to Moore that were relevant to Moore’s apparent intention to seek mail-

carrying contracts for Femail. These included meeting minutes, the identity of the

Express Coordinator, clearance access for other employees, and insider information on

upcoming contract solicitations, including when the Postal Service was looking for new

suppliers. To conceal their relationship, Franklin gave explicit instructions to Moore to

avoid sending messages to her official email or mentioning their relationship in

conversations with Postal Service employees. On one occasion, for example, Franklin

provided Moore with the contact information of a Postal Service employee, with the

warning, “WHATEVER YOU DO..............DO NOT MENTION MY NAME!!!!!!!!!!!!!!”




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Likewise, when on another occasion Moore sent Franklin what was apparently a draft of

an email that Moore was planning to send to another Postal Service employee, Franklin

responded with the warning, “Do not send me anything!!!!”




       16.     In January 2019, Wimmer unexpectedly passed away while she held a

Postal Service contract.

B.     Moore makes false statements to secure FeMail’s first Postal Service contract.

       17.     On February 8, 2019, Moore contacted Postal Service Purchasing Analyst

Benita Townsend to advise the Postal Service of the death of her employer, Tamara


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Wimmer. In addition to notifying the Postal Service of Wimmer’s death, Moore falsely

represented that she was the “[s]ilent partner” for Wimmer and offered to keep

Wimmer’s current contract. Moore’s false representation led the Postal Service to issue

an emergency solicitation directly to Moore to fill the vacancy created by Wimmer’s

death.1 And as the only solicitation recipient, Moore successfully obtained the contract.

        18.     On February 21, 2019, Postal Service Purchasing Analyst Benita Townsend

emailed the emergency solicitation to Moore. This email contained a notice that

employees of the Postal Service and members of their immediate families were ineligible

to become suppliers, as shown here:




Moore also filled out a representations and certifications document that, among other

things, required her to identify for an entity applying for a contract if the entity was

owned by a family member of a Postal Service employee or resided in the same

household as a Postal Service employee, but Moore did not indicate that any of these

conditions existed, as shown here:



1
 An emergency solicitation allows Postal Service to bypass the traditional posting requirements to
expedite the solicitation process by only soliciting one supplier.



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       19.     On February 23, 2019, Franklin retrieved multiple Postal Service contract

files and emailed them to her personal Gmail account and another third party. In the

following week, Franklin used her insider information from USPS to assist Moore in

drafting a proposal for the emergency solicitation and filling out contract paperwork.




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       20.     While working to submit the bid for the Emergency Solicitation 762DV,

Moore continued to work the route and ultimately submitted her bid on or about March 8,

2019. Although she in fact resided at the same address as Franklin, Moore did not

disclose in Provision 4-3: Representations and Certifications that she was “another family

member of a Postal Service employee” or “an individual residing in the same household

as a Postal Service employee.” Moore signed this certification under penalty for making

false statements in offers as prescribed by 18 U.S.C. § 1001.

       22.     On March 25, 2019, Townsend and Moore discussed the Pre-Award

Conference form on the phone. Moore answered “No” in response to questions asking if

she had any Postal Service employee relatives living in her household. In fact, though,

Moore was living at the same residence as her mother, Franklin.

       23.     Relying on Moore’s fraudulent representations and omissions, the Postal

Service awarded contract 762DV to FeMail in the amount of $101,530.86.

C.     Defendants continue to hide their relationship and obtain a second contract.

       27.     In September 2019, the Postal Service issued contract solicitation 762A2.

That solicitation received bids from six potential contractors, including FeMail. Around

this time, Franklin diverted work to Moore and FeMail, and provided information,

including about other Postal Service contracts, to Moore that would ultimately help

Moore negotiate rates to acquire new contracts and underbid other suppliers.

       28.     As with the prior contract (762DV), Moore again omitted any mention of

her relationship to Franklin when applying for contract 762A2, and thereby induced the

Postal Service into awarding the contract to FeMail based on false information. The


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terms and conditions that were made a part of the contract included Provision 4-3, which

required identification of any business organization owned by a family member of a

Postal Service employee or someone residing in the same household as a Postal Service

employee. Moore also signed a pre-award conference form which, under the header

“eligibility issues,” she indicated here response that she did not have any Postal employee

living in her household.

        29.    Relying on Moore’s fraudulent representations and omissions, the Postal

Service awarded contract 762A2 to FeMail in the amount of $92,019.09.

D.      The Postal Service Discovers the Defendants’ Fraud

        30.    Postal Service agents discovered the relationship between Moore and

Franklin after receiving a complaint from one of Franklin’s coworkers that Franklin had

been providing extra “trip slips” to Moore. “Trip slips” refer to a work authorization

sheet for contractors to drive additional trips beyond their scheduled routes and earn more

money. Through this investigation, it was discovered that Franklin and Moore conspired

to conceal their scheme by lying to Postal Service agents about Franklin’s role in tipping

off Moore to internal Postal Service deliberations, procuring extra trips and contracts for

FeMail, and misrepresenting Franklin and Moore’s familial relationship when submitting

contract bids on behalf of FeMail.

        31.     On July 7, 2020, Postal Service agents interviewed Franklin. When asked

about Moore’s Postal Service contracts, she denied having any relevant knowledge.

Furthermore, she claimed that Consuelo Salinas (Franklin’s mother), not Moore, was the

owner of FeMail.


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        32.    The next day, Franklin returned for a follow-up interview. However, she

reversed course from her prior claims, admitting that she had assisted her daughter with

obtaining Postal Service contracts. She confessed that Moore, her daughter, owned

FeMail, and that the two of them used the name of Consuelo Salinas to hide their email

communications.

        33.    Towards the end of 2020, Franklin applied for immediate retirement, and

officially separated from the Postal Service on February 28, 2021.

E.      The Postal Service Terminates FeMail’s Contract for Default

        34.    Once the Postal Service became aware of the facts of Franklin and

Moorer’s relationship, it terminated her then-current contract with the Postal Service

(contract 762A2), on January 15, 2021 as outlined below:




        35.    The false information submitted by Moore resulted in FeMail’s being

awarded Postal Service contracts that it was not entitled to and that it otherwise would

not have received. To date, the Postal Service has not been reimbursed the payments it


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made under the contracts to FeMail, including both the base amounts of the contracts and

any extra work performed thereunder through the provision of “trip slips.”

                                    V.       THE LAW

A.       The False Claims Act

         38.   The False Claims Act provides for the award of treble damages and civil

penalties for, inter alia, knowingly causing the submission of false or fraudulent claims

for payment to the United States government. 31 U.S.C. § 3729(a)(1).

         39.   The False Claims Act establishes liability to the United States for any

individual or entity that: “knowingly presents, or causes to be presented, a false or

fraudulent claim for payment or approval,” 31 U.S.C. § 3729(a)(1)(A); “knowingly

makes, uses, or causes to be made or used, as false record or statement material to a false

or fraudulent claim,” id. § 3729(a)(1)(B); or “conspires to commit a violation of

subparagraph (A) [or] (B),” id. § 3729(a)(1)(C).

         40.   To show that an individual or entity acted “knowingly” for purposes of the

False Claims Act, the United States must establish that such individual or entity: (1) has

actual knowledge of the information; (2) acts in deliberate ignorance of the truth or falsity

of the information; or (3) acts in reckless disregard of the truth or falsity of the

information. 31 U.S.C. § 3729(b)(1). No proof of specific intent to defraud is required.

Id.




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                                        COUNT I
                            Violations of the False Claims Act:
                          Submission of False Claims for Payment
                                31 U.S.C. § 3729(a)(1)(A)

       41.     The United States realleges and incorporates by reference the preceding

paragraphs as if fully set forth in this paragraph.

       42.     The United States seeks relief against Defendants for their violations of the

False Claims Act, 31 U.S.C. § 3729(a)(1)(A).

       43.     In connection with the foregoing schemes, Defendants knowingly, or with

deliberate ignorance or reckless disregard for the truth, presented and/or caused to be

presented to the government false or fraudulent claims for payments.

       44.     By reason of these false claims, the United States has sustained damages in

an amount to be determined at trial, and is entitled to a civil penalty as required by law

for each violation.

                                       COUNT II
                           Violations of the False Claims Act:
                       Making or Using a False Record of Statement
                               31 U.S.C. § 3729(a)(1)(B)

       45.     The United States incorporates by reference the preceding paragraphs as if

fully set forth in this paragraph.

       46.     The United States seeks relief against Defendants under 31 U.S.C.

§ 3729(a)(1)(B).

       47.     In connection with the foregoing schemes, Defendants knowingly, or with

deliberate ignorance or in reckless disregard for the truth, made, used, or caused to be




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made and used, false records and statements material to false and fraudulent claims that

were made to the government.

       48.      By reason of these false claims, the United States has sustained damages in

an amount to be determined at trial, and is entitled to a civil penalty as required by law

for each violation.

                                       COUNT III
                                        Conspiracy
                                 31 U.S.C. § 3729(a)(1)(C)

       48.      The United States realleges and incorporates by reference the preceding

paragraphs as if fully set forth in this paragraph.

       49.      The United States seeks relief against Defendants under 31 U.S.C.

§ 3729(a)(1)(C).

       50.      As set forth above, in connection with the foregoing schemes, Defendants

and their co-conspirators knowingly, or with deliberate ignorance or in reckless disregard

for the truth conspired to submit or cause to be submitted a false claim, or conspired to

make, use or cause to be made or used false records and statements material to false and

fraudulent claims that were made to the government, and took actions to further these

conspiracies.

       51.      By reason of these false claims, the United States has sustained damages in

an amount to be determined at trial, and is entitled to a civil penalty as required by law

for each violation.




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                                        COUNT IV
                                     Common Law Fraud

       52.     The United States realleges and incorporates by reference paragraphs 1-40

as if fully set forth in this paragraph.

       53.     Defendants made material misrepresentations of fact, with knowledge of, or

in reckless disregard of, their truth, in connection with the claims for payment submitted

by, or on behalf of, Defendants to the United States.

       54.     Defendants intended that the United States rely upon the accuracy of these

false representations referenced above.

       55.     The United States made substantial payments of money in justifiable

reliance upon Defendants’ false representations.

       56.     Defendants’ actions cause the United States to be damaged in a substantial

amount to be determined at trial.

                                         COUNT V
                                      Unjust Enrichment

       57.     The United States realleges and incorporates by reference paragraphs 1-40

as if fully set forth in this paragraph.

       58.     The United States asserts a claim under federal common law for recovery

of monies by which Defendants have been unjustly enriched.

       59.     By virtue of the conduct and the acts described above, Defendants were

unjustly enriched at the expense of the United States in an amount to be determined,

which, under the circumstances, in equity and good conscience, should be returned to the

United States.


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                                     PRAYER FOR RELIEF

       60.     WHEREFORE, plaintiff, the United States requests that judgment be

entered in its favor and against Defendants as follows:

       a.      On the First, Second, and Third Claims for Relief (Violations of the False

Claims Act, 31 U.S.C. § 3729(a)), for treble the United States’ damages in an amount to

be determined at trial, plus civil penalties for each false claim presented, together with all

such relief as may be just and proper;

       b.      On the First, Second, and Third Claims for Relief, an award of costs

pursuant to 31 U.S.C. § 3729(a);

       c.      On the Fourth Claim for Relief (Common Law Fraud), for an amount to be

determined at trial, together with costs and interest;

       d.      On the Fifth Claim for Relief (Unjust Enrichment), for an accounting and

for amounts by which defendants were unjustly enriched, in an amount to be determined

at trial, together with costs and interest; and

       e.      All other relief this Court deems just and proper, including post-judgment

interest and costs of this action.

                                       JURY DEMAND

       The United States demands a jury trial in this case.




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                                   Respectfully submitted,

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